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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION

 In re:                                             §       Case No. 17-22760-MAM
                                                    §
 STEPHAN MAURICE ROUTHIER                           §
                                                    §
                                                    §
                                   Debtor(s)        §

                          NOTICE OF TRUSTEE’S FINAL REPORT AND
                             APPLICATION FOR COMPENSATION
                              AND DEADLINE TO OBJECT (NFR)

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Robert C.
Furr, Trustee, trustee of the above styled estate, has filed a Final Report and the trustee and the
trustee’s professionals have filed final fee applications, which are summarized in the attached
Summary of Trustee’s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:

          1515 N Flagler Drive, 8th Floor, West Palm Beach, FL 33401

        Any person wishing to object to any fee application that has not already been approved or
to the Final Report, must file a written objection within 21 days from the mailing of this notice,
together with a request for a hearing and serve a copy of both upon the trustee, any party whose
application is being challenged and the United States Trustee. If no objections are filed, the
Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
without further order of the Court.

Date Mailed:       02/05/2019                           By: /s/ Robert C. Furr, Trustee
                                                            Trustee
Robert C. Furr, Trustee
2255 Glades Road, Suite 301E
Boca Raton, FL 33431




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                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                         WEST PALM BEACH DIVISION

    In re:                                                              §           Case No. 17-22760-MAM
                                                                        §
    STEPHAN MAURICE ROUTHIER                                            §
                                                                        §
                                                                        §
                                     Debtor(s)                          §

                                  SUMMARY OF TRUSTEE’S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION

             The Final Report shows receipts of                                                                                     $3,500.00
             and approved disbursements of                                                                                          $1,000.00
             leaving a balance on hand of 1:                                                                                        $2,500.00


             Claims of secured creditors will be paid as follows:

Claim            Claimant                                     Claim                Allowed                 Interim                    Proposed
No.                                                         Asserted              Amount of             Payments to                    Amount
                                                                                     Claim                    Date
              3 Pine Hollow                                $4,325.18                       $0.00                    $0.00                       $0.00
                Condominium
              8 Pine Hollow                                $7,277.43                       $0.00                    $0.00                       $0.00
                Condominium
                Association, Inc.


                                                    Total to be paid to secured creditors:                                              $0.00
                                                                      Remaining balance:                                            $2,500.00

             Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                                      Total                Interim                    Proposed
                                                                                  Requested             Payments to                   Payment
                                                                                                              Date
Robert C. Furr, Trustee, Trustee Fees                                                  $875.00                      $0.00                $875.00
Robert C. Furr, Trustee, Trustee Expenses                                                $93.22                     $0.00                  $93.22
National Auction Company, Auctioneer for                                            $1,000.00                $1,000.00                          $0.00
Trustee Expenses


1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will be
distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum
compensation set forth under 11 U.S.C. § 326(a) on account of disbursement of the additional interest.
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                    Total to be paid for chapter 7 administrative expenses:                $968.22
                                                       Remaining balance:                $1,531.78

       Applications for prior chapter fees and administrative expenses have been filed as
follows: NONE



                 Total to be paid to prior chapter administrative expenses:                  $0.00
                                                       Remaining balance:                $1,531.78

       In addition to the expenses of administration listed above as may be allowed by the
Court, priority claims totaling $0.00 must be paid in advance of any dividend to general
(unsecured) creditors.

         Allowed priority claims are: NONE



                                        Total to be paid to priority claims:                 $0.00
                                                       Remaining balance:                $1,531.78

        The actual distribution to wage claimants included above, if any, will be the proposed
payment less applicable withholding taxes (which will be remitted to the appropriate taxing
authorities).

         Timely claims of general (unsecured) creditors totaling $296,513.74 have been allowed
and will be paid pro rata only after all allowed administrative and priority claims have been paid
in full. The timely allowed general (unsecured) dividend is anticipated to be 0.5 percent, plus
interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim         Claimant                                Allowed Amt.          Interim       Proposed
No.                                                        of Claim      Payments to       Amount
                                                                               Date
           1 FORD MOTOR CREDIT                             $8,844.78            $0.00        $45.70
             COMPANY
           2 Capital One Bank (USA), N.A.                 $11,379.09            $0.00        $58.79
           4 American Express Bank, FSB                   $20,169.12            $0.00       $104.19
           5 American Express Centurion Bank               $5,763.54            $0.00        $29.77
           6 5561 North University Drive, Suite           $23,001.50            $0.00       $118.82
             102
           7 T Mobile/T-Mobile USA Inc                        $52.83            $0.00         $0.27
           9 Bosch Construction                          $227,302.88            $0.00     $1,174.24

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                       Total to be paid to timely general unsecured claims:                     $1,531.78
                                                       Remaining balance:                           $0.00

       Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed
and will be paid pro rata only after all allowed administrative, priority and timely filed general
(unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
percent, plus interest (if applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                 Total to be paid to tardily filed general unsecured claims:                        $0.00
                                                        Remaining balance:                          $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata
only after all allowed administrative, priority and general (unsecured) claims have been paid in
full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus
interest (if applicable).

       Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
ordered subordinated by the Court are as follows: NONE



                                  Total to be paid for subordinated claims:                         $0.00
                                                        Remaining balance:                          $0.00




                                          Prepared By: /s/ Robert C. Furr, Trustee
                                                       Trustee

Robert C. Furr, Trustee
2255 Glades Road, Suite 301E
Boca Raton, FL 33431




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.



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